Case 1:23-cr-00061-MN Document 233 Filed 06/17/24 Page 1 of 9 PageID #: 3446




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       ) Criminal Action No. 1:23-cr-00061-MN
                                     )
ROBERT HUNTER BIDEN,                 )
                                     )
            Defendant.               )
                                     )
____________________________________)


      MR. BIDEN’S RULE 33 MOTION FOR A NEW TRIAL ON ALL COUNTS
                      FOR LACK OF JURISDICTION




      Abbe David Lowell                      Bartholomew J. Dalton (#808)
      Christopher D. Man                     DALTON & ASSOCIATES, P.A.
      WINSTON & STRAWN                       1106 West 10th Street
      1901 L Street NW                       Wilmington, DE 19806
      Washington, DC 20036                   Tel.: (302) 652-2050
      Tel.: (202) 282-5000                   BDalton@dalton.law
      Fax: (202) 282-5100
      AbbeLowellPublicOutreach@winston.com

                              Counsel for Robert Hunter Biden
Case 1:23-cr-00061-MN Document 233 Filed 06/17/24 Page 2 of 9 PageID #: 3447




                                        INTRODUCTION

       Pursuant to Rule 33, Mr. Biden moves for a new trial on all counts because the Court was

divested of jurisdiction when it empaneled the jury and conducted the trial without it.

                                         BACKGROUND

       Mr. Biden filed two notices of appeal in this case to the Third Circuit raising claims on

appeal that would prevent a trial on any count in this case—a first notice on April 17, 2024

(D.E.105) and a second notice on May 20, 2024 (D.E.133). The Third Circuit entered an order

dismissing the first appeal on May 9, 2024, but the issuance of the mandate was delayed while the

Third Circuit considered Mr. Biden’s petition for rehearing and rehearing en banc. See Fed. R.

App. P. 41(b) (addressing issuance of the mandate). The Third Circuit entered an order dismissing

Mr. Biden’s second appeal on May 28, 2024, and denied Mr. Biden’s rehearing petition on the

first appeal on May 31, 2024. The Third Circuit, however, did not then and has not yet issued its

mandate as to the orders dismissing either appeal. Thus, when this Court empaneled the jury on

June 3, 2024 and proceeded to trial, it was without jurisdiction to do so.

                                          ARGUMENT

I.     A NEW TRIAL              IS   REQUIRED         BECAUSE       THIS     COURT        LACKED
       JURISDICTION

       A. A New Trial Is Required Because This Court Was Divested Of Jurisdiction

       “An appeal, including an interlocutory appeal, ‘divests the district court of its control over

those aspects of the case involved in the appeal.’” Coinbase, Inc. v. Bielski, 599 U.S. 736, 740

(2023) (quoting Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982)); Ehleiter v.

Grapetree Shores, Inc., 482 F.3d 207, 215 n.6 (3d Cir. 2007) (“automatic divestiture”); Venen v.

Sweet, 758 F.2d 117, 120 (3d Cir. 1985) (“As a general rule, the timely filing of a notice of appeal

is an event of jurisdictional significance, immediately conferring jurisdiction on a Court of Appeals



                                                 1
Case 1:23-cr-00061-MN Document 233 Filed 06/17/24 Page 3 of 9 PageID #: 3448




and divesting a district court of its control over those aspects of the case involved in the appeal.”)

(emphasis added). It is black-letter law that “[t]he action of a court of appeals does not become

final until its mandate is issued.” United States v. Felton, 811 F.2d 190, 198 (3d Cir. 1987). “When

the matter is on appeal, the district court lacks power to proceed. . . . The mandate of the court of

appeals serves to fix with certainty the point at which jurisdiction passes from the appellate to the

trial court.” Id.; see Price v. Dunn, 139 S. Ct. 1533, 1537 (2019) (Thomas, J. concurring in denial

of certiorari) (“‘a district court generally is without jurisdiction to rule in a case that is on appeal’—

even after the court has rendered a decision—‘until the mandate has issued’”) (citations omitted);

Shahin v. PNC Bank, N.A., 2016 WL 5403101, at *2 (D. Del. Sept. 26, 2016) (explaining

jurisdiction remains with the Third Circuit until it issues its mandate); Bradshaw v. Lappin, 2009

WL 1396189, at *1 (D. Colo. May 15, 2009) (refusing to proceed to trial because it risks reversal,

as “[i]t is well established that jurisdiction does not return to a district court until issuance of the

appellate mandate”). “Simply put, jurisdiction follows the mandate.” Shahin v. PNC Bank, N.A.,

678 F. App’x 62, 63 (3d Cir. 2017) (quoting United States v. Rivera, 844 F.2d 916, 921 (2d Cir.

1988)).

          Naturally, any district court action taken after it has been divested of jurisdiction by an

appeal must be vacated. Venen, 758 F.2d at 123 (acknowledging that vacating the district court’s

orders “will burden the district court in the proceedings which will undoubtedly follow.

Nevertheless, jurisdictional requirements may not be disregarded for convenience sake”). The

proceedings in this case closely track United States v. DeFries, 129 F.3d 1293 (D.C. Cir. 1997).

There, the government appealed the dismissal of a single count and the D.C. Circuit reversed,

reinstating the count, but the defendant filed a petition for rehearing which delayed the issuance of

the mandate. Nevertheless, the district court empaneled a jury and proceeded to trial. The D.C.




                                                    2
Case 1:23-cr-00061-MN Document 233 Filed 06/17/24 Page 4 of 9 PageID #: 3449




Circuit issued its mandate about one week into the trial. On appeal from the conviction that

followed, the D.C. Circuit vacated the conviction on the count that had been the subject of the

pending appeal when the trial began because the mandate had not issued. Id. at 1302. The D.C.

Circuit explained: “In reaching this conclusion, we fully understand that appellants’ trial took

several months, consuming thousands of hours of court and lawyer time. The mandate rule,

however, is clear, well-established, and grounded in solid considerations of efficient judicial

administration.” Id. at 1303.

       This case is no different from DeFries in terms of the fact that the Court empaneled a jury

and proceeded to trial before the Court of Appeals returned jurisdiction to the Court by issuing its

mandate. Consequently, the conviction must be vacated here, as it was in DeFries.

       B. The Fact That The Third Circuit May Ultimately Issue A Mandate Returning
          Jurisdiction To This Court Does Not Cure The Defect In Proceeding Without
          Jurisdiction

       That the Third Circuit may later issue a mandate returning jurisdiction to this Court, after

a 7-day trial resulting in a three-count conviction, does not change the fact that the trial proceeded

before jurisdiction was returned to this Court. As the D.C. Circuit explained in DeFries: “That we

ultimately sustained the district court’s jurisdiction in this case is of no moment; district court

jurisdiction cannot turn on retrospective examination of appeals court action. Where, as here, our

mandate had not issued, the district court lacked jurisdiction to proceed with trial whether we later

sustained its jurisdiction or not.” Id. at 1303.

       Likewise, the Third Circuit has squarely ruled that a dismissal for lack of jurisdiction does

not restore jurisdiction to a district court until it issues its mandate. See District 65, Distributive,

Processing & Office Workers Union v. McKague, 216 F.2d 153, 155 (3d Cir. 1954). In District

65, the Third Circuit advised at oral argument that it was inclined to dismiss the appeal for lack of




                                                   3
Case 1:23-cr-00061-MN Document 233 Filed 06/17/24 Page 5 of 9 PageID #: 3450




jurisdiction because there was no final order and it ultimately did issue “an order dismissing the

appeal . . . for want of jurisdiction.” Id. Appellant’s counsel suggested at oral argument that he

would go back to the district court to obtain a final order, but the Third Circuit “then unequivocally

informed counsel that the court below was without jurisdiction to make such an order since the

appeal was pending in this court.” Id. Nevertheless, the appellant did go back to the district court

to request a final order, and the district court granted that order. Although the Third Circuit

ultimately concluded it lacked jurisdiction over the initial appeal, the Third Circuit held “[t]he

court below was without jurisdiction to enter the [subsequent] order” as long as the appeal

remained pending before the Third Circuit. Id.; see Leonard v. United States, 633 F.2d 599, 610

(2d Cir. 1980) (describing District 65 as holding “the filing of a notice of appeal from a non-

appealable order also immediately divests the district court of jurisdiction to proceed as to the

matters involved in the purported appeal”); Am. Inst. for Mental Stud. v. Brinn, 1985 WL 3486, at

*1 (S.D.N.Y. Nov. 4, 1985) (explaining District 65’s “holding that actions taken by district court

after filing of notice of appeal, even from non-appealable orders, will be vacated”). Accordingly,

the law is settled in this Circuit and dictates that the Court must vacate Mr. Biden’s convictions

and order a new trial.

       To be sure, the Third Circuit is sensitive to the consequences of district courts being

unnecessarily divested of jurisdiction by unwarranted appeals, and it has provided a procedure for

addressing those situations. In United States v. Leppo, the Third Circuit adopted a procedure for

handling improper attempts to divest a district court of jurisdiction by filing a “frivolous appeal.”

634 F.2d 101, 104 (3d Cir. 1980). In that case, a district court granted a defendant’s motion for a

mistrial based on improper testimony by a government agent. Six weeks after granting the

defendant’s mistrial motion, the defendant claimed—contrary to well-established law—that a




                                                  4
Case 1:23-cr-00061-MN Document 233 Filed 06/17/24 Page 6 of 9 PageID #: 3451




mistrial order prevents retrial under the Double Jeopardy Clause. Id. at 103. The Third Circuit

“agree[d] with the district court that Leppo’s motion to dismiss was both dilatory and frivolous.”

Id.

       To handle future frivolous appeals and prevent them from improperly divesting district

courts of jurisdiction, the Third Circuit adopted the Dunbar rule. Id. at 105 (citing United States

v. Dunbar, 611 F.2d 985 (5th Cir. 1980) (en banc)). Leppo explained that a frivolous appeal “does

not divest the district court of jurisdiction to proceed with trial, if the district court has found the

motion to be frivolous and supported its conclusions by written findings. . . . Of course, in the

absence of a finding that the motion is frivolous, the trial court must suspend its proceedings once

a notice of appeal is filed.” Id. This certification process “must be used with restraint” because it

is a narrow exception to the rule requiring district courts to wait for the courts of appeals to decide

their own jurisdiction. Apostol v. Gallion, 870 F.2d 1335, 1339 (7th Cir. 1989) (Easterbrook, J.).

       The Special Counsel did not ask this Court to certify Mr. Biden’s first or second appeals

as frivolous, and this Court made no certification that either appeal was frivolous. It is not

surprising that the Special Counsel did not ask for certification and this Court did not make such

a certification. For an appeal to be frivolous, an appellate court must find that the district court’s

“disposition is so plainly correct that nothing can be said on the other side,” Apostol, 870 F.2d at

1339, or that the appellant’s argument “lacks an arguable basis either in law or in fact,” Neitzke v.

Williams, 490 U.S. 319, 325 (1989). The issue is not even whether the appeal is likely to succeed

on the merits, but only whether the appeal is arguable; the test is designed to screen out only

“inarguable claims.” Id. at 328. One side loses in every appeal, but that does not mean the losing

side’s arguments were frivolous. Here, Mr. Biden’s claims to appellate jurisdiction did not prevail

but they were not frivolous.




                                                   5
Case 1:23-cr-00061-MN Document 233 Filed 06/17/24 Page 7 of 9 PageID #: 3452




            More importantly, this Court did not certify Mr. Biden’s appeals as frivolous, so that it

could reassert jurisdiction.1 And, as the Third Circuit made clear in Leppo, “in the absence of a

finding that the motion is frivolous, the trial court must suspend its proceedings once a notice of

appeal is filed.” 634 F.2d at 105. A district court’s options when faced with an interlocutory

appeal are to either wait for jurisdiction to be restored by the court of appeals’ mandate or to issue

a certification of frivolousness. The Third Circuit also could have been asked to file its mandates

sooner. The certification process would be meaningless if a district court could obtain the same

result by ignoring the process, and it would create the added problem of uncertainty as to where

jurisdiction exists. The mandate rule and certification process provide that certainty, and that is

lost if both are ignored. Mr. Biden’s convictions should be vacated.

                                            CONCLUSION

            Mr. Biden’s convictions should be vacated because the Court lacked jurisdiction to proceed

to trial.


Dated: June 17, 2024                              Respectfully submitted,

                                                  /s/ Abbe David Lowell
Bartholomew J. Dalton (#808)                      Abbe David Lowell
DALTON & ASSOCIATES, P.A.                         Christopher D. Man
1106 West 10th Street                             WINSTON & STRAWN
Wilmington, DE 19806                              1901 L Street NW
Tel.: (302) 652-2050                              Washington, D.C. 20036


1 By contrast, when Mr. Biden filed a motion explicitly seeking injunctive relief and indicated that
he may seek an interlocutory appeal on the denial of that motion, the Special Counsel asked the
Court to deny the motion and certify it as frivolous under the Dunbar procedure. The Court did
as the Special Counsel requested and denied the motion and explicitly made the Dunbar
certification. D.E.191 at 8–9. Mr. Biden then advised the Court that he would not appeal that
issue, but he objected to the Court’s finding of frivolousness. D.E.194. The fact that the Special
Counsel asked the Court for a Dunbar certification as to that order, and the Court did so, stands in
marked contrast to Mr. Biden’s first two appeals of orders where no Dunbar certification was
requested or given. Consequently, jurisdiction does not return to this Court until the mandates
issue following the completion of those appeals.


                                                    6
Case 1:23-cr-00061-MN Document 233 Filed 06/17/24 Page 8 of 9 PageID #: 3453




BDalton@dalton.law                         Tel.: (202) 282-5000
                                           Fax: (202) 282-5100
                                           AbbeLowellPublicOutreach@winston.com
                                           CMan@winston.com

                     Counsel for Robert Hunter Biden




                                            7
Case 1:23-cr-00061-MN Document 233 Filed 06/17/24 Page 9 of 9 PageID #: 3454




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2024, I filed the foregoing motion with the Clerk of Court

using the CM/ECF system, which will send a notification of such filing to all counsel of record.


                                                    /s/ Abbe David Lowell
                                                    Abbe David Lowell

                                                    Counsel for Robert Hunter Biden




                                                8
